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                  Schedule of Fourteenth ACR Designated Claims
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  Claim Number                     Creditor Name                           ACR Procedures       Total Filed
                 CLINICA DE MANEJO DEL DOLOR DR. CRAWFORD W.
979                                                             Tax Refund Claims           $       278,649.00
                 LONG C.S.P.

1801             CPALUISROD LLC                                 Tax Refund Claims           $         3,205.00

2133             OPEN SYSTEMS INC.                              Tax Refund Claims           $        23,372.00

2548             PROFESSIONAL CREDENTIAL SERVICE INC            Tax Refund Claims           $        78,110.00

3856             BEBE STORES INC                                Tax Refund Claims           $        88,059.00

4002             FREXULFE LLC                                   Tax Refund Claims           $         4,119.00

4057             TOLEDO, JOSE HECTOR                            Tax Refund Claims           $       297,876.00

4233             DJS MAT INC                                    Tax Refund Claims           $         7,031.00

5213             BLUESTEM FILMS INC                             Tax Refund Claims           $         9,702.00

5607             NOLLA AMADO, JUAN JOSE                         Tax Refund Claims           $        12,750.00

6259             ACCION LABORAL UNITARIA Y DEFENSORA            Tax Refund Claims           $         7,586.00

6502             MARTINEZ SULSONA, SUCN RAUL                    Tax Refund Claims           $        10,834.00

6985             CRUZ DIAZ, ANTONIO                             Tax Refund Claims           $       171,096.32

8247             ENCODY INC                                     Tax Refund Claims           $        14,024.49

8574             GENERAL OPHTHALMOLOGY GROUP CSP                Tax Refund Claims           $        15,853.00

9261             PROFESSIONAL SERVICES NETWORK INC              Tax Refund Claims           $        10,112.00

                 BANKRUPTCY ESTATE OF TACTICAL SECURITY
10180                                                           Tax Refund Claims           $        20,058.00
                 POLICE FORCE, INC., CASE NO. 15-05575

10299            SAP LEGAL PSC                                  Tax Refund Claims           $         6,994.00

10855            HQJ REAL ESTATE, LLC                           Tax Refund Claims           $         5,868.00

10952            VITOL, INC                                     Tax Refund Claims           $        13,816.34

10976            FILISHA INC                                    Tax Refund Claims           $         1,232.00

11471            TRAFIGURA TRADING, LLC                         Tax Refund Claims           $       671,082.00

11697            CCI GROUP LLC                                  Tax Refund Claims           $         9,200.00

12551            JRZ TRANSPORT INC                              Tax Refund Claims           $        35,066.00

                 MARTINEAU HOUSING AND BUILDING MANAGEMENT
13248                                                           Tax Refund Claims           $        12,507.00
                 CORP.

13504            BERATUNG GROUP LLC                             Tax Refund Claims           $        73,323.00




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13857            MWR EMERGENCY GROUP LLC                        Tax Refund Claims           $          486.31

14121            RHEINSCHMIDT TILE AND MARBLE INC               Tax Refund Claims           $         5,000.00

14182            ENVIROMENTAL INVENTORY & CONSULTING GROUP      Tax Refund Claims           $         5,308.29

15367            ENR SERVICE INC                                Tax Refund Claims           $         2,682.00

16200            DANAUS TRUST                                   Tax Refund Claims           $     1,991,478.00

16874            ROJO CONSTRUCTION CORPORATION                  Tax Refund Claims           $       223,816.00

16921            AM INSURANCE SERVICES, PSC                     Tax Refund Claims           $         5,110.00

17078            AGILITY LOGISTICS CORP                         Tax Refund Claims           $         4,935.00

17352            OWNED OUTCOMES, LLC                            Tax Refund Claims           $        45,424.00

17386            SMART INSURANCE AGENCY VSJ, P.S.C.             Tax Refund Claims           $        19,640.27

17565            QUINTEROS, ALEJANDRO                           Tax Refund Claims           $         4,359.00

17666            FRONTERA TACORONTE MD., CSP, NESTOR R.         Tax Refund Claims           $        13,714.00

18067            POWER COOLING                                  Tax Refund Claims           $        96,275.05

18545            RODRIGUEZ D'ANDREA, ANGELES M                  Tax Refund Claims           $       179,423.31

18807            ROSA CARTAGENA, FELIX J.                       Tax Refund Claims           $        18,729.20

18832            SCHINITZER PUERTO RICO, INC                    Tax Refund Claims           $       271,055.78

18839            NEVARES GUILLERMETY, HECTOR G.                 Tax Refund Claims           $        59,551.33

19397            LEARNING ALLIANCES, LLC                        Tax Refund Claims           $       251,458.23

19601            ARCHITEK,PSC                                   Tax Refund Claims           $        13,140.00

20077            ARCO CAPITAL MANAGEMENT LLC                    Tax Refund Claims           $       139,659.18

20108            PC G INT'L                                     Tax Refund Claims           $        15,000.00

20182            INSTITUTO DE OJOS & CIRUGIA PLASTICA CSP       Tax Refund Claims           $        80,000.00

20330            ASOMANTE MEDICAL GROUP                         Tax Refund Claims           $       152,312.78

20435            GENETIC DIAGNOSTIC GROUP, C.S.P.               Tax Refund Claims           $        26,478.86

20513            THE NEW 5-7-9 AND BEYOND, INC.                 Tax Refund Claims           $     1,178,775.00

21390            TECH DATA DE PUERTO RICO, INC.                 Tax Refund Claims           $       319,278.00




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21392            COMMSCOPE TECHNOLOGIES LLC                      Tax Refund Claims           $        22,120.00

21699            OLIVENCIA VELAZQUEZ CPAS P S C                  Tax Refund Claims           $         1,416.00

21935            COCINAS DISENO INC                              Tax Refund Claims           $        25,582.00

22258            DIRECT SOLUTION, LLC                            Tax Refund Claims           $       113,654.00

22336            RED VENTURES, LLC                               Tax Refund Claims           $        12,606.00

22664            EXETER GROUP INC                                Tax Refund Claims           $        75,040.00

22696            MONY LIFE INSURANCE COMPANY                     Tax Refund Claims           $       101,118.00

24058            PPG PUERTO RICO, INC.                           Tax Refund Claims           $       520,869.40

24245            PEREZ RIVERA, GABRIEL                           Tax Refund Claims           $         6,330.00

24726            JMF DEFERRED COMPENSATION TRUST                 Tax Refund Claims           $         2,268.00

24787            FAT, INC.                                       Tax Refund Claims           $        26,602.00

25044            EMPRESAS COLON AYALA INC.                       Tax Refund Claims           $        17,951.00

25997            AMERICAN TELEMEDICINE CENTER CORP               Tax Refund Claims           $       244,079.00

26112            REYNALDO GARCIA INC                             Tax Refund Claims           $        21,136.00

                 SPECIALTY PAPER BAG CORPORATION OF PUERTO
27252                                                            Tax Refund Claims           $        11,894.77
                 RICO, INC.

28019            BRISTOL /MYERS SQUIBB PR INC                    Tax Refund Claims           $        43,189.00

28060            P P L MEDICAL CSP                               Tax Refund Claims           $        10,332.00

28496            ZURICH AMERICAN INSURANCE COMPANY               Tax Refund Claims           $       533,240.00

                 TOUCHSTONE WIRELESS LATIN AMERICA, LLC, D/B/A
28860                                                            Tax Refund Claims           $       319,815.00
                 INGRAM MICRO MOBILITY

29635            JG DISH & CELLULAR INC                      Tax Refund Claims               $        12,028.00
                 SUCESIÓN NORBERTO MEDINA-VÉLEZ, COMPOSED BY
29639            NORBERTO MEDINA-ZURINAGA, MARÍA MEDINA-     Tax Refund Claims               $         8,508.63
                 ZURINAGA AND YVONNE SILVA-MEDINA
30794            STEADFAST INSURANCE COMPANY                 Tax Refund Claims               $         6,597.00

31036            HERNAN JR MACHADO TORRES PE PSC                 Tax Refund Claims           $         4,583.00

31051            PROJECT MANAGEMENT CONSTUCTION CORP             Tax Refund Claims           $        35,183.00

31102            3F AIR CONDITIONING & CONTRACTOR LLC            Tax Refund Claims           $         8,907.00

31107            PROJECT MANAGEMENT SERVICES PSC                 Tax Refund Claims           $        64,000.00




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  Claim Number                     Creditor Name                             ACR Procedures       Total Filed

31130            INVERSIONES & CONSTRUCTORA R B GROUP             Tax Refund Claims           $         2,334.00

31379            CROWE HORWATH LLP                                Tax Refund Claims           $     1,325,323.00

31653            LEGALITY INVESTIGATION & SECURITY SERVICE INC    Tax Refund Claims           $        10,310.00

32049            LOPEZ BERRIOS, ANGEL                             Tax Refund Claims           $        16,472.00

32119            FIDELITY & DEPOSIT CO. OF MARYLAND               Tax Refund Claims           $         6,089.00

33185            TRC ENVIRONMENTAL CORPORATION                    Tax Refund Claims           $        22,806.00

33513            HOTEL MARBELLA INC                               Tax Refund Claims           $         8,221.00

33924            SERV DE SALUD PRIMARIO DE BARCELONETA            Tax Refund Claims           $        71,758.05

35226            SJS MNGT ASSOCIATES INC                          Tax Refund Claims           $        33,582.00

35656            RDA LEGAL, PSC.                                  Tax Refund Claims           $         4,524.00

36111            DISTRIBUIDORA DE ALIMENTOS, INC.                 Tax Refund Claims           $        46,900.00

36183            CLINICA DE MEDICINA DE FAMILIA DE CAYEY CSP      Tax Refund Claims           $         5,598.00

36638            SUCESION PHILIPPI FRANZ RAMIREZ DE ARELLANO      Tax Refund Claims           $         1,895.00

39697            CYCLE SPORTS CENTER INC                          Tax Refund Claims           $        18,053.00

40206            GRAMIRA, LLC                                     Tax Refund Claims           $        45,068.00

40211            X-RAY DIAGNOSTIC CENTER, LLC                     Tax Refund Claims           $       161,122.00

40250            EMPRESAS COLON AYALA INC.                        Tax Refund Claims           $        17,951.00

                 X RAY DIAGNOSTIC CENTER, INC. / X RAY
40288                                                             Tax Refund Claims           $        28,189.00
                 EQUIPMENT, INC.

40394            ACRO SERVICE CORP                                Tax Refund Claims           $          221.00

41089            SERVICIOS DE TRANSPORTACION JUAN CARLOS INC      Tax Refund Claims           $        24,457.00

                 JORGE L IRIZARRY DOMINICCI Y MARIAN I ROIG
42907                                                             Tax Refund Claims           $         4,041.00
                 FRANCESCHINI

43711            SUCESION LOURDES MONTALVO TORRES                 Tax Refund Claims           $         4,307.00

43921            RED BUSINESS SUPPORT GROUP INC                   Tax Refund Claims           $         1,017.00

46225            J J C INDUSTRIAL SERVICE                         Tax Refund Claims           $        17,612.00

47252            AIMEE RAICES/ALFONOS ROSSY MILLAN                Tax Refund Claims           $         5,921.00

48643            JACOBS P.S.C                                     Tax Refund Claims           $        50,836.00




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48648            COMUNIDAD AGRICOLA BIANCHI INC                Tax Refund Claims           $        26,405.00

48896            CPA RAFAEL EMMANUELLI COLON                   Tax Refund Claims           $         5,787.00

49640            CORREA-RODRIGUEZ, JULIO F                     Tax Refund Claims           $         7,643.00

51358            JOHN L. KORDASH AND JUDITH W. KORDASH         Tax Refund Claims           $        60,534.00

52079            CENTRO CLINICO DE VEGA ALTA CORP.             Tax Refund Claims           $        24,117.00

64607            JACKSON NATIONAL INSURANCE COMPANY            Tax Refund Claims           $        68,492.00

66300            SYSTEMAX PUERTO RICO                          Tax Refund Claims           $     1,771,862.00

67243            CARLOS MONTOTO & MAGDALENA BLANCO             Tax Refund Claims           $        54,262.00

                 NEWMECO, INC. AND/OR JEANNETTE SOTOMAYOR,
70077                                                          Tax Refund Claims           $         4,500.00
                 PRES.

73313            EMG NETWORKS ALTERNATIVES INC                 Tax Refund Claims           $         4,366.00

76299            LEDUCTECH SOLUTIONS INC.                      Tax Refund Claims           $        16,034.00

77261            AVON PRODUCTS, INC. (PUERTO RICO BRANCH)      Tax Refund Claims           $     1,455,260.00

79698            TAUBMAN CENTERS, INC.                         Tax Refund Claims           $        56,766.00

80383            EDWARDS LIFESCIENCES (CANADA) INC.            Tax Refund Claims           $        16,837.00

                 BUMBLE BEE INTERNATIONAL, INC AND ITS
82376                                                          Tax Refund Claims           $       601,230.00
                 SUCCESSORS AND ASSIGNS

88744            NEWMECO, INC.                                 Tax Refund Claims           $         1,871.00

93712            EDWARDS LIFESCIENCES PTY. LTD                 Tax Refund Claims           $        16,669.00

116060           SANABRIA FIGUEROA, HARRY L.                   Tax Refund Claims           $        86,739.00

141036           SENSE CORP.                                   Tax Refund Claims           $        73,929.00

                 ENRIQUE FIGUEROA FERNANDEZ & NANCY POLA
144442                                                         Tax Refund Claims           $        16,220.13
                 CARRILLO

155829           CABRERA HERMANOS, LLC                         Tax Refund Claims           $        25,562.00

159738           ANGEL L. MEDERO VIDAL & FELICITA MORALES      Tax Refund Claims           $       141,195.96

162580           IGUINA DE LA ROSA CSP                         Tax Refund Claims           $         8,880.00

16923            CENTRO DE CONSULTORIA MEDICA, CSP             Tax Refund Claims           $         4,938.00




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